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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

DENNIS TOOLEY,                            )
an individual,                            )
                                          )            CASE NO.: 1:17-cv-00781-LSA-DML
              Plaintiff,                  )
                                          )
WOODROW J. LANE TRUST,                    )
an Indiana Trust,                         )
                                          )
and                                       )
                                          )
BETTY L. LANE TRUST,                      )
an Indiana Trust,                         )
                                          )
              Defendants.                 )
_________________________________________ )

           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                      AS TO DEFENDANT AARON’S, INC.

       Plaintiff pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby

dismisses this action as to Defendant AARON’S, INC. without prejudice.


                                            Respectfully Submitted,

                                            KU & MUSSMAN, P.A.


                                    By:     Louis I. Mussman           .
                                            Louis I. Mussman, Esq.
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                                            and

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                                           Attorneys for Plaintiff


                               CERTIFICATE OF SERVICE

       I hereby certify that on May 9, 2017, a true and correct copy of the foregoing was

submitted to the Clerk of Court using the CM/ECF system, and will be personally served upon

Woodrow J. Lane Trust, through its trustee c/o Richard Lane, 3146 Harding Street, Indianapolis,

IN 46217 and Betty L. Lane Trust, through its trustee c/o Richard Lane, 3146 Harding Street,

Indianapolis, IN 46217.


                                    By:    Louis I. Mussman              .




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